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                             COMMONWEALTH OF PENNSYLVANIA
                          GOVERNOR’S OFFICE OF GENERAL COUNSEL

Honorable Judge Sylvia H. Rambo
United States District Judge
Middle District of Pennsylvania
228 Walnut Street
Harrisburg, Pennsylvania 17101
VIA ECF
                                       November 9, 2022

               Re: Thome v. Splain, 20-2167

Dear Honorable Judge Rambo,

       I am writing on behalf of the Parties to request a status conference to discuss a
date-certain for trial, and attendant deadlines.

        The Parties have completed fact discovery. The Defendants will not be filing a
dispositive motion on November 11, 2022.

       The Parties are in the midst of exchanging expert reports. The Parties have been
working amicably together to resolve the mutual need for extensions of time to produce
expert reports. For their part, the Defendants anticipate needing until early January to
provide opposition reports. The Parties will then need a brief period of time for
supplemental reports and expert discovery.

        In light of the fact that the Defendants will not be filing a motion for summary
judgment, and that the case will be going to trial, the Parties believe that it will be most
efficient for the Court to hold a status conference to discuss a schedule moving forward,
before the filing of a motion for extension of deadlines. While some additional time is
needed for expert discovery, the Parties wish to have the case go to trial as soon as the
Court’s schedule allows.

                                                       Very truly yours,


                                                       /s/ Nicole J. Boland

                                                       Nicole J. Boland
                                                       Assistant Counsel
                                                       Pennsylvania State Police
       cc: Ben Present, Esq.


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